           Case:07-40807-LWD
Official Form 1 (4/07)                                   Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                  Page:1 of 39
                                        United States Bankruptcy Court
                                                 Southern District of Georgia                                                                       Voluntary Petition
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Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
  Murton, Richard J.


All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                     (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-5581
Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
  75 Hickory Way
  Ellabell, GA
                                                                               ZIP Code                                                                                     ZIP Code
                                                                           31308
County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  Bryan
Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):


                                                                               ZIP Code                                                                                     ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                  Type of Debtor                                  Nature of Business                                  Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                (Check one box)                                     the Petition is Filed (Check one box)
                  (Check one box)                           Health Care Business                           Chapter 7
                                                            Single Asset Real Estate as defined            Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                     in 11 U.S.C. § 101 (51B)                                                        of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                  Chapter 11
                                                            Railroad
                                                                                                           Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                      Stockbroker
                                                                                                           Chapter 13                       of a Foreign Nonmain Proceeding
                                                            Commodity Broker
    Partnership
                                                            Clearing Bank
    Other (If debtor is not one of the above entities,      Other                                                                      Nature of Debts
    check this box and state type of entity below.)                                                                                     (Check one box)
                                                                  Tax-Exempt Entity
                                                                 (Check box, if applicable)                Debts are primarily consumer debts,                  Debts are primarily
                                                            Debtor is a tax-exempt organization            defined in 11 U.S.C. § 101(8) as                     business debts.
                                                            under Title 26 of the United States            "incurred by an individual primarily for
                                                            Code (the Internal Revenue Code).              a personal, family, or household purpose."

                               Filing Fee (Check one box)                                       Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                       Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                       to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                     A plan is being filed with this petition.
                                                                                                       Acceptances of the plan were solicited prepetition from one or more
                                                                                                       classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                   THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
    there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-         200-       1000-     5001-       10,001-        25,001-   100,001-     OVER
        49           99          199          999        5,000    10,000       25,000         50,000    100,000     100,000


Estimated Assets
        $0 to                      $10,001 to               $100,001 to              $1,000,001 to             More than
        $10,000                    $100,000                 $1 million               $100 million              $100 million

Estimated Liabilities
        $0 to                      $50,001 to               $100,001 to              $1,000,001 to             More than
        $50,000                    $100,000                 $1 million               $100 million              $100 million
           Case:07-40807-LWD
Official Form 1 (4/07)                            Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                               Page:2 of 39
                                                                                                                                                    FORM   B1, Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Murton, Richard J.
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
 (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
 forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
 pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
 and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ BARBARA B. BRAZIEL                                   June 1, 2007
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             BARBARA B. BRAZIEL

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
      No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                         Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                              (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                   permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                   possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
           Case:07-40807-LWD
Official Form 1 (4/07)                        Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                           Page:3 of 39
                                                                                                                                            FORM   B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                  Murton, Richard J.
(This page must be completed and filed in every case)
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                         Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     [If no attorney represents me and no bankruptcy petition preparer                 of title 11 specified in this petition. A certified copy of the order granting
     signs the petition] I have obtained and read the notice required                  recognition of the foreign main proceeding is attached.
     by 11 U.S.C. §342(b).
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X    /s/ Richard J. Murton                                                           Printed Name of Foreign Representative
     Signature of Debtor Richard J. Murton
                                                                                      Date
 X
     Signature of Joint Debtor                                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     June 1, 2007                                                                     copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X    /s/ BARBARA B. BRAZIEL                                                          amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      BARBARA B. BRAZIEL 078775
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      BARBARA B. BRAZIEL
     Firm Name
      6555 ABERCORN ST.                                                               Social Security number (If the bankrutpcy petition preparer is not
      SUITE 105                                                                       an individual, state the Social Security number of the officer,
      SAVANNAH, GA 31405                                                              principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address


      912-351-9000 Fax: 912-692-0768
     Telephone Number
                                                                                      Address
     June 1, 2007
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose Social Security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                      A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
                                                                                      §110; 18 U.S.C. §156.
           Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                              Page:4 of 39


Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                           Southern District of Georgia
 In re       Richard J. Murton                                                                            Case No.
                                                                                             Debtor(s)    Chapter    13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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            Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                  Page:5 of 39


Official Form 1, Exh. D (10/06) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Richard J. Murton
                                                   Richard J. Murton
 Date:         June 1, 2007




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Form 3A
            Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                            Page:6 of 39
(10/05)

                                                               United States Bankruptcy Court
                                                                       Southern District of Georgia
    In re    Richard J. Murton                                                                                          Case No.
                                                                                             Debtor(s)                  Chapter     13




                                      APPLICATION TO PAY FILING FEE IN INSTALLMENTS
1.     In accordance with Fed. R. Bankr. P. 1006, I apply for permission to pay the Filing Fee amounting to $ 274.00 in installments.

2.     I am unable to pay the filing fee except in installments.

3.     Until the filing fee is paid in full, I will not make any additional payments or transfer any additional property to an attorney or any
       other person for services in connection with this case.

4.     I propose the following terms for the payment of the Filing Fee.*

        $                     0.00 Check one                     With the filing of the petition, or
                                                                 On or before

        $                             on or before                                               (X) or, balance to be paid through plan by Chapter 13 Trustee.

        $                             on or before

        $                             on or before

*      The number of installments proposed shall not exceed four (4), and the final installment shall be payable not later than 120 days
       after filing the petition. For cause shown, the court may extend the time of any installment, provided the last installment is paid
       not later than 180 days after filing the petition. Fed. R. Bankr. P. 1006(b)(2).

5.     I understand that if I fail to pay any installment when due, my bankruptcy case may be dismissed and I may not receive a discharge
       of my debts.



 Date June 1, 2007                                                          Signature        /s/ Richard J. Murton
                                                                                             Richard J. Murton
 /s/ BARBARA B. BRAZIEL                                                                      Debtor
 Attorney for Debtor(s)
 BARBARA B. BRAZIEL
 BARBARA B. BRAZIEL
 6555 ABERCORN ST.
 SUITE 105
 SAVANNAH, GA 31405
 912-351-9000
 Fax: 912-692-0768




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Form 3A Contd.
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(10/05)

                                                               United States Bankruptcy Court
                                                                       Southern District of Georgia
 In re      Richard J. Murton                                                                                    Case No.
                                                                                             Debtor(s)           Chapter    13




                                     ORDER APPROVING PAYMENT OF FILING FEE IN INSTALLMENTS

                  IT IS ORDERED that the debtor(s) may pay the filing fee in installments on the terms proposed in the foregoing
application.

                  IT IS ORDERED that the debtor(s) shall pay the filing fee according to the following terms:


       $                              Check one                  With the filing of the petition, or
                                                                 On or before

       $                              on or before

       $                              on or before

       $                              on or before

              IT IS FURTHER ORDERED that until the filing fee is paid in full the debtor(s) shall not make any additional payment or
transfer any additional property to an attorney or any other person for services in connection with this case.



                                                                                                  BY THE COURT


 Date
                                                                                                         UNITED STATES BANKRUPTCY JUDGE




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               Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                      Page:8 of 39
Form 6-Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                           Southern District of Georgia
  In re          Richard J. Murton                                                                                   Case No.
                                                                                                                ,
                                                                                               Debtor
                                                                                                                     Chapter                  13




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS               LIABILITIES            OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  94,000.00


B - Personal Property                                             Yes                 3                  10,025.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 1                                        101,581.00


E - Creditors Holding Unsecured                                   Yes                 1                                              0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 4                                         10,844.00
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                1,923.00
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                1,773.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            15


                                                                                Total Assets            104,025.00


                                                                                                 Total Liabilities             112,425.00




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Official Form 6 - Statistical Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                           Southern District of Georgia
  In re            Richard J. Murton                                                                                   Case No.
                                                                                                            ,
                                                                                          Debtor
                                                                                                                       Chapter                13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                    report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                    Amount

              Domestic Support Obligations (from Schedule E)                                                        0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                    0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E)
                                                                                                                    0.00

              Student Loan Obligations (from Schedule F)                                                            0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                    0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                    0.00

                                                                                 TOTAL                              0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                         1,923.00

              Average Expenses (from Schedule J, Line 18)                                                       1,773.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                          1,645.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                      906.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                    0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                           0.00

              4. Total from Schedule F                                                                                             10,844.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         11,750.00




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Form B6A
(10/05)


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  In re          Richard J. Murton                                                                                  Case No.
                                                                                                        ,
                                                                                          Debtor

                                                                 SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                        Husband,     Current Value of
                                                                                Nature of Debtor's       Wife,      Debtor's Interest in          Amount of
                 Description and Location of Property                           Interest in Property                 Property, without
                                                                                                         Joint, or Deducting                     Secured Claim
                                                                                                       Community             any Secured
                                                                                                                    Claim or Exemption

75 HICKORY WAY                                                                                              -                  94,000.00                 94,000.00
ELLABELL, GA 31308




                                                                                                        Sub-Total >            94,000.00        (Total of this page)

                                                                                                                Total >        94,000.00
  0     continuation sheets attached to the Schedule of Real Property                                   (Report also on Summary of Schedules)
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               Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                          Page:11 of 39
Form B6B
(10/05)


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  In re          Richard J. Murton                                                                                      Case No.
                                                                                                            ,
                                                                                           Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                          X

2.     Checking, savings or other financial                      CHECKING - BANK OF COASTAL GA                                     -                           600.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          HOUSEHOLD GOODS & FURNISHINGS                                     -                        2,500.00
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          CLOTHING                                                          -                           250.00

7.     Furs and jewelry.                                     X

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >            3,350.00
                                                                                                                       (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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             Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                            Page:12 of 39
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(10/05)




  In re          Richard J. Murton                                                                                      Case No.
                                                                                                            ,
                                                                                           Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                      X
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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             Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                             Page:13 of 39
Form B6B
(10/05)




  In re          Richard J. Murton                                                                                      Case No.
                                                                                                            ,
                                                                                           Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           2001 DODGE DAKOTA                                                  -                       6,675.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                   Sub-Total >            6,675.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >         10,025.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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                Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                        Page:14 of 39
 Form B6C
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   In re          Richard J. Murton                                                                                    Case No.
                                                                                                              ,
                                                                                              Debtor

                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                       Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                       $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                      Specify Law Providing                  Value of           Current Value of
                    Description of Property                                              Each Exemption                      Claimed            Property Without
                                                                                                                            Exemption         Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
CHECKING - BANK OF COASTAL GA                     Ga. Code Ann. § 44-13-100(a)(6)                                                   600.00                     600.00

Household Goods and Furnishings
HOUSEHOLD GOODS & FURNISHINGS                                                    Ga. Code Ann. § 44-13-100(a)(4)                  2,500.00                  2,500.00

Wearing Apparel
CLOTHING                                                                         Ga. Code Ann. § 44-13-100(a)(4)                    250.00                     250.00




                                                                                                              Total:              3,350.00                  3,350.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
 Copyright (c) 1996-2007 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                       Best Case Bankruptcy
               Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                                 Page:15 of 39
 Official Form 6D (10/06)



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  In re            Richard J. Murton                                                                                             Case No.
                                                                                                                    ,
                                                                                                    Debtor

                                     SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s
 name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P.
 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                               C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                   O                                                             O    N   I
                                                               D   H         DATE CLAIM WAS INCURRED,                        N    L   S        CLAIM
          AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
           INCLUDING ZIP CODE,                                 B   W           NATURE OF LIEN, AND                           I    Q   U                      PORTION, IF
                                                               T   J          DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                             DEDUCTING
          AND ACCOUNT NUMBER                                   O                                                             G    I   E       VALUE OF          ANY
            (See instructions above.)
                                                                   C               OF PROPERTY
                                                               R
                                                                                  SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No.                                                            2001 DODGE DAKOTA                                          E
                                                                                                                                  D

HSBC
ATTN: BANKRUPTCY DEPT.
P.O. BOX 9068
                                                                   -
BRANDON, FL 33509-9068

                                                                        Value $                               6,675.00                          7,581.00               906.00
Account No. xxx2840                                                    75 HICKORY WAY
                                                                       ELLABELL, GA 31308
TAYLOR, BEAN & WHITAKER
BANKRUPTCY DEPT
1417 N MAGNOLIA AVE
                                                                   -
Ocala, FL 34475

                                                                        Value $                              94,000.00                         94,000.00                   0.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
                                                                                                                          Subtotal
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_____ continuation sheets attached                                                                                                            101,581.00               906.00
                                                                                                                 (Total of this page)
                                                                                                                            Total             101,581.00               906.00
                                                                                                  (Report on Summary of Schedules)

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  In re           Richard J. Murton                                                                                       Case No.
                                                                                                              ,
                                                                                           Debtor

                          SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also
     include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
     chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case
     under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative of
     such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a trust
     or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
        Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not delivered
     provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or another
     substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0   continuation sheets attached
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   In re           Richard J. Murton                                                                                          Case No.
                                                                                                                          ,
                                                                                                        Debtor


                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the
 child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R.
 Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain
 Liabilities and Related Data.

       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,                                           E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                  AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. xxxx-xxxx-xxxx-6898                                                                                                              T   T
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BANKCARD CENTER
P. O. BOX 11170                                                                      -
Wilmington, DE 19850-1170

                                                                                                                                                                           571.00
Account No. 3089

BUDGET FINANCE
5500 WHITEBLUFF ROAD                                                                 -
SUITE G
SAVANNAH, GA 31405
                                                                                                                                                                         1,000.00
Account No. x1526

CANDLER MEDICAL GROUP-CP
340 EISENHOWER DR., #1200                                                            -
SAVANNAH, GA 31406

                                                                                                                                                                           137.00
Account No. xxxx-xxxx-xxxx-8710

CAPITAL ONE
P. O. BOX 30285                                                                      -
Salt Lake City, UT 84130-0285

                                                                                                                                                                           577.00

                                                                                                                                           Subtotal
 3
_____ continuation sheets attached                                                                                                                                       2,285.00
                                                                                                                                 (Total of this page)




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               Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                                 Page:18 of 39
 Official Form 6F (10/06) - Cont.




   In re            Richard J. Murton                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R                                                           E   D   D
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Account No. xx5962                                                                                                                               E
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CENTER FOR DIGESTIVE &LIVER
HEALTH & THE ENDOSCOPY CNT                                                           -
1139 LEXINGTON AVE.
Savannah, GA 31404-5502
                                                                                                                                                                          53.00
Account No. xxxxxxxx-xxx6155

CITIFINANCIAL
109 MINUS AVE                                                                        -
SUITE C-9
GARDEN CITY, GA 31408-2130
                                                                                                                                                                      6,267.00
Account No. xxx-xx2-266

DEFINITY HEALTH
P.O. BOX 740800                                                                      -
Atlanta, GA 30374

                                                                                                                                                                        407.00
Account No. xxxx3742

DIRECTV
P. O. BOX 6550                                                                       -
GREENWOOD VILLAGE, CO
80155-6550
                                                                                                                                                                        201.00
Account No. 5902

LANIER COLLECTION AGENCY
P.O. BOX 15519                                                                       -
SAVANNAH, GA 31416-2219

                                                                                                                                                                          93.00

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Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      7,021.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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               Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                                 Page:19 of 39
 Official Form 6F (10/06) - Cont.




   In re            Richard J. Murton                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. Jxxxxx3529C                                                                  GA EMERGENCY ASSOC.                                     E
                                                                                                                                                 D

MEDICAL BILLING ASSOCIATES
P. O. BOX 10066                                                                      -
Savannah, GA 31412

                                                                                                                                                                        261.00
Account No. xxxxxx0589

MEMORIAL HEALTH
P. O. BOX 22248                                                                      -
Louisville, KY 40252-0248

                                                                                                                                                                        455.00
Account No.

PEMBROKE TELEPHONE CO.
P.O. BOX 10                                                                          -
PEMBROKE, GA 31321

                                                                                                                                                                          88.00
Account No. xxxx3069

RGL ASSOCIATES INC
3536 DARIEN HWY                                                                      -
Brunswick, GA 31525

                                                                                                                                                                        132.00
Account No. Jxxxxx3529

ST JOSEPH'S/CANDLER
5353 REYNOLDS STREET                                                                 -
Savannah, GA 31405

                                                                                                                                                                        390.00

           2
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      1,326.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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               Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                                        Page:20 of 39
 Official Form 6F (10/06) - Cont.




   In re            Richard J. Murton                                                                                               Case No.
                                                                                                                           ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                            O                                                                  O   N   I
                  AND MAILING ADDRESS                                            D   H                                                              N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                    (See instructions above.)                                    R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. xxxxxxxxx-x0001                                                                                                                             E
                                                                                                                                                        D

VERIZON WIRELESS
P. O. BOX 105378                                                                     -
SIOUX FALLS, SD

                                                                                                                                                                               212.00
Account No.




Account No.




Account No.




Account No.




           3
Sheet no. _____     3
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                               212.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)                 10,844.00


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                 Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                                 Page:21 of 39
Form B6G
(10/05)


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  In re             Richard J. Murton                                                                           Case No.
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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               Case:07-40807-LWD Doc#:1 Filed:06/01/07 Entered:06/01/07 09:39:21                                            Page:22 of 39
Form B6H
(10/05)


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  In re          Richard J. Murton                                                                       Case No.
                                                                                               ,
                                                                                 Debtor

                                                                       SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                      NAME AND ADDRESS OF CREDITOR

                  MARGARET BALLENTINE                                               HSBC
                  214 PARKWAY                                                       ATTN: BANKRUPTCY DEPT.
                  Ellabell, GA 31308                                                P.O. BOX 9068
                                                                                    BRANDON, FL 33509-9068




       0       continuation sheets attached to Schedule of Codebtors

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Official Form 6I (10/06)
                                                                                                                            Page:23 of 39

  In re       Richard J. Murton                                                                          Case No.
                                                                               Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                     DEPENDENTS OF DEBTOR AND SPOUSE
                                          RELATIONSHIP(S):                                            AGE(S):
        Single                                 None.

 Employment:                                                DEBTOR                                                  SPOUSE
 Occupation
 Name of Employer                     ONEIDA LTD
 How long employed
 Address of Employer                  ATTN: PAYROLL DEPT.
                                      163-181 KENWOOD AVENUE
                                      Oneida, NY 13421
 INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                  SPOUSE
 1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $         1,677.00      $                 N/A
 2. Estimate monthly overtime                                                                             $             0.00      $                 N/A

 3. SUBTOTAL                                                                                              $         1,677.00      $                 N/A

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                 $             393.00    $                 N/A
     b. Insurance                                                                                         $             111.00    $                 N/A
     c. Union dues                                                                                        $               0.00    $                 N/A
     d. Other (Specify):                                                                                  $               0.00    $                 N/A
                                                                                                          $               0.00    $                 N/A

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             504.00    $                 N/A

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         1,173.00      $                 N/A

 7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00    $                 N/A
 8. Income from real property                                                                             $               0.00    $                 N/A
 9. Interest and dividends                                                                                $               0.00    $                 N/A
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
      that of dependents listed above                                                                     $               0.00    $                 N/A
 11. Social security or government assistance
 (Specify):                                                                                               $               0.00    $                 N/A
                                                                                                          $               0.00    $                 N/A
 12. Pension or retirement income                                                                         $               0.00    $                 N/A
 13. Other monthly income
 (Specify):        BOARDER                                                                                $             750.00    $                 N/A
                                                                                                          $               0.00    $                 N/A

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             750.00    $                 N/A

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,923.00      $                 N/A

 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                        $            1,923.00
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                     (Report also on Summary of Schedules and, if applicable, on
                                                                                     Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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Official Form 6J (10/06)
                                                                                                                 Page:24 of 39

 In re      Richard J. Murton                                                                  Case No.
                                                                   Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
 1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                  720.00
  a. Are real estate taxes included?                            Yes                No X
  b. Is property insurance included?                            Yes                No X
 2. Utilities:      a. Electricity and heating fuel                                                          $                  200.00
                    b. Water and sewer                                                                       $                   33.00
                    c. Telephone                                                                             $                   42.00
                    d. Other                                                                                 $                    0.00
 3. Home maintenance (repairs and upkeep)                                                                    $                    0.00
 4. Food                                                                                                     $                  204.00
 5. Clothing                                                                                                 $                    0.00
 6. Laundry and dry cleaning                                                                                 $                    0.00
 7. Medical and dental expenses                                                                              $                   60.00
 8. Transportation (not including car payments)                                                              $                  172.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    0.00
 10. Charitable contributions                                                                                $                    0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                    a. Homeowner's or renter's                                                               $                    0.00
                    b. Life                                                                                  $                    0.00
                    c. Health                                                                                $                    0.00
                    d. Auto                                                                                  $                  292.00
                    e. Other AUTO INSURANCE                                                                  $                   50.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
                  (Specify)                                                                                  $                    0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
 plan)
                    a. Auto                                                                                  $                    0.00
                    b. Other                                                                                 $                    0.00
                    c. Other                                                                                 $                    0.00
                    d. Other                                                                                 $                    0.00
 14. Alimony, maintenance, and support paid to others                                                        $                    0.00
 15. Payments for support of additional dependents not living at your home                                   $                    0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                    0.00
 17. Other                                                                                                   $                    0.00
     Other                                                                                                   $                    0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                1,773.00
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
 following the filing of this document:

 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                        $                1,923.00
 b. Average monthly expenses from Line 18 above                                                              $                1,773.00
 c. Monthly net income (a. minus b.)                                                                         $                  150.00
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Official Form 6-Declaration. (10/06)
                                                                                                                                     Page:25 of 39
                                                                  United States Bankruptcy Court
                                                                           Southern District of Georgia
 In re       Richard J. Murton                                                                                       Case No.
                                                                                             Debtor(s)               Chapter    13




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                17  sheets [total shown on summary page plus 2], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date June 1, 2007                                                              Signature    /s/ Richard J. Murton
                                                                                             Richard J. Murton
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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Official Form 7
(04/07)


                                                                  United States Bankruptcy Court
                                                                           Southern District of Georgia
 In re       Richard J. Murton                                                                                    Case No.
                                                                                             Debtor(s)            Chapter        13


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                  business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $27,830.00                               2006 - VARIOUS
                           $64,000.00                               2005 - INTERNATIONAL PAPER (ESTIMATED)

                  2. Income other than from employment or operation of business

    None          State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
                  during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE



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                                                                                                                                                             2

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                            AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                      AMOUNT PAID             OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,475. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                     AMOUNT
                                                                                   DATES OF                           PAID OR
                                                                                   PAYMENTS/                        VALUE OF           AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                       TRANSFERS             OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT               AMOUNT PAID             OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY         STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION            DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY




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                                                                                                                                                              3

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
    OF PAYEE                                                                          THAN DEBTOR                             OF PROPERTY

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED




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                                                                                                                                                               4
    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                              AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)          IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                    DESCRIPTION               DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                    OF CONTENTS                SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                       LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                             DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME


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                                                                                                                                                               5

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                 DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                        LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                 DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                        LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                             BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                  NATURE OF BUSINESS               ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or

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                                                                                                                                                                6

owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                               DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                  DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL


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                                                                                                                                                                      7
    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                                DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                   TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                         TAXPAYER IDENTIFICATION NUMBER (EIN)


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date June 1, 2007                                                              Signature    /s/ Richard J. Murton
                                                                                             Richard J. Murton
                                                                                             Debtor
                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                  United States Bankruptcy Court
                                                                           Southern District of Georgia
 In re       Richard J. Murton                                                                                        Case No.
                                                                                             Debtor(s)                Chapter    13


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $               2,500.00
              Prior to the filing of this statement I have received                                               $                    0.00
              Balance Due                                                                                         $               2,500.00

2.     The source of the compensation paid to me was:

                   Debtor                   Other (specify):

3.     The source of compensation to be paid to me is:

                   Debtor                   Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e. [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               REPRESENTATION OF THE DEBTOR(S) IN ANY MOTIONS FOR LEAVE TO SELL, MOTIONS TO APPROVE
               PERSONAL INJURY CLAIMS, MOTION TO INCUE DEBT, DISCHARGABILITY ACTIONS, JUDICIAL LIEN
               AVOIDANCES, RELIEF FROM STAY ACTIONS OR ANY OTHER ADVERSARY PROCEEDINGS
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       June 1, 2007                                                                   /s/ BARBARA B. BRAZIEL
                                                                                             BARBARA B. BRAZIEL
                                                                                             BARBARA B. BRAZIEL
                                                                                             6555 ABERCORN ST.
                                                                                             SUITE 105
                                                                                             SAVANNAH, GA 31405
                                                                                             912-351-9000 Fax: 912-692-0768




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                                                          UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF GEORGIA

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE
                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 BARBARA B. BRAZIEL                                                                          X /s/ BARBARA B. BRAZIEL                   June 1, 2007
Printed Name of Attorney                                                                       Signature of Attorney                    Date
Address:
6555 ABERCORN ST.
SUITE 105
SAVANNAH, GA 31405
912-351-9000

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Richard J. Murton                                                                           X /s/ Richard J. Murton                    June 1, 2007
 Printed Name(s) of Debtor(s)                                                                  Signature of Debtor                      Date

 Case No. (if known)                                                                         X
                                                                                                 Signature of Joint Debtor (if any)     Date




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                                                                  United States Bankruptcy Court
                                                                           Southern District of Georgia
 In re       Richard J. Murton                                                                                           Case No.
                                                                                              Debtor(s)                  Chapter    13



                                          CERTIFICATION OF CREDITOR MAILING MATRIX


             The purpose of the Certification of Creditor Mailing Matrix form is to certify that the creditor
             information provided on the diskette (or by ECF submission) matches exactly the creditor
             information provided on the schedules. Accordingly, I hereby certify under penalty of perjury
             that the master mailing list of creditors submitted on computer diskette or electronically via the
             CM/ECF system is a true, correct and complete listing to the best of my knowledge and that the
             names and number of creditors provided on the diskette/ECF submission corresponds exactly to
             the creditor information listed on the schedules.

             I further acknowledge that (1) the accuracy and completeness in preparing the creditor listing are
             the shared responsibility of the debtor and the debtor's attorney; (2) the court will rely on the
             creditor listing for all mailings; (3) the various schedules and statements required by the
             Bankruptcy Rules are not used for mailing purposes; and (4) that debtor, attorney and trustee
             information is not included on the diskette or electronic submission.

             The master mailing list of creditors is submitted via:

                          computer diskette listing a total of                               creditors which corresponds exactly to the
                          schedules; or

                          electronic means (ECF) listing a total of                           22     creditors which corresponds exactly to
                          the schedules.




                                                                                                /s/ Richard J. Murton
                                                                                                Richard J. Murton
                                                                                                Debtor


                                                                                                /s/ BARBARA B. BRAZIEL
                                                                                                BARBARA B. BRAZIEL
                                                                                                Attorney for Debtor(s)

             Date:        June 1, 2007




              Revised: 10/05                                                                                        EXHIBIT 1

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RICHARD J. MURTON                  CITIFINANCIAL                     RGL ASSOCIATES INC
75 HICKORY WAY                     109 MINUS AVE                     3536 DARIEN HWY
ELLABELL GA 31308                  SUITE C-9                         BRUNSWICK GA 31525
                                   GARDEN CITY GA 31408-2130


BARBARA B. BRAZIEL                 DEFINITY HEALTH                   ST JOSEPH'S/CANDLER
BARBARA B. BRAZIEL                 P.O. BOX 740800                   5353 REYNOLDS STREET
6555 ABERCORN ST.                  ATLANTA GA 30374                  SAVANNAH GA 31405
SUITE 105
SAVANNAH, GA 31405

BANKCARD CENTER                    DIRECTV                           TAYLOR, BEAN & WHITAKER
P. O. BOX 11170                    P. O. BOX 6550                    BANKRUPTCY DEPT
WILMINGTON DE 19850-1170           GREENWOOD VILLAGE CO 80155-6550   1417 N MAGNOLIA AVE
                                                                     OCALA FL 34475


BRYAN COUNTY EMERGENCY             HSBC                              VERIZON WIRELESS
MEDICAL SERVICES                   ATTN: BANKRUPTCY DEPT.            P. O. BOX 105378
PO BOX 999                         P.O. BOX 9068                     SIOUX FALLS SD
PEMBROKE GA 31321                  BRANDON FL 33509-9068


BUDGET FINANCE                     LANIER COLLECTION AGENCY
5500 WHITEBLUFF ROAD               P.O. BOX 15519
SUITE G                            SAVANNAH GA 31416-2219
SAVANNAH GA 31405


CANDLER MEDICAL GROUP-CP           MARGARET BALLENTINE
340 EISENHOWER DR., #1200          214 PARKWAY
SAVANNAH GA 31406                  ELLABELL GA 31308



CAPITAL ONE                        MEDICAL BILLING ASSOCIATES
P. O. BOX 30285                    P. O. BOX 10066
SALT LAKE CITY UT 84130-0285       SAVANNAH GA 31412



CENTER FOR DIGESTIVE &LIVER        MEMORIAL HEALTH
HEALTH & THE ENDOSCOPY CNT         P. O. BOX 22248
1139 LEXINGTON AVE.                LOUISVILLE KY 40252-0248
SAVANNAH GA 31404-5502


CHATHAM RADIOLOGISTS               PEMBROKE TELEPHONE CO.
P. O. BOX 8006                     P.O. BOX 10
SAVANNAH GA 31412                  PEMBROKE GA 31321
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Form 22C (Chapter 13) (04/07)

 In re      Richard J. Murton                                                                 According to the calculations required by this statement:
                         Debtor(s)
                                                                                        The applicable commitment period is 3 years.
 Case Number:                                                                           The applicable commitment period is 5 years.
                                   (If known)
                                                                                        Disposable income is determined under § 1325(b)(3).
                                                                                        Disposable income is not determined under § 1325(b)(3).
                                                                                  (Check the boxes as directed in Lines 17 and 23 of this statement.)


               CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
         AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.

                                                                    Part I. REPORT OF INCOME
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1        a.     Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
              b.     Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
              All figures must reflect average monthly income received from all sources, derived during the six   Column A                             Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before the
              filing. If the amount of monthly income varied during the six months, you must divide the six-      Debtor's                              Spouse's
              month total by six, and enter the result on the appropriate line.                                    Income                                Income

     2        Gross wages, salary, tips, bonuses, overtime, commissions.                                                       $        982.00    $
              Income from the operation of a business, profession, or farm. Subtract Line b from Line a
              and enter the difference in the appropriate column(s) of Line 3. Do not enter a number less than
              zero. Do not include any part of the operating expenses entered on Line b as a deduction
              in Part IV.
     3                                                                     Debtor                Spouse
               a.    Gross receipts                                $               0.00 $
               b.      Ordinary and necessary business expenses                    $               0.00       $
               c.      Business income                                             Subtract Line b from Line a                 $           0.00   $
              Rents and other real property income. Subtract Line b from Line a and enter the difference in
              the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
              part of the business expenses entered on Line b as a deduction in Part IV.
     4                                                                    Debtor                Spouse
               a.    Gross receipts                                $               0.00 $
               b.      Ordinary and necessary operating expenses                    $               0.00      $
               c.      Rent and other real property income                          Subtract Line b from Line a                $           0.00   $
     5        Interest, dividends, and royalties.                                                                              $           0.00   $
     6        Pension and retirement income.                                                                       $                       0.00   $
              Any amounts paid by another person or entity, on a regular basis, for the household
     7        expenses of the debtor or the debtor's dependents, including child or spousal support. Do
              not include amounts paid by the debtor's spouse.                                                     $                       0.00   $
              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A or B,
     8        but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act                Debtor $              0.00   Spouse $                 $           0.00   $
              Income from all other sources. Specify source and amount. If necessary, list additional sources
              on a separate page. Total and enter on Line 9. Do not include any benefits received under the
              Social Security Act or payments received as a victim of a war crime, crime against humanity, or as a
              victim of international or domestic terrorism.
     9
                                                                         Debtor                   Spouse
               a.   FORMER WIFE                                 $               430.00 $
               b.     BOARDER                                                 $                233.00     $
                                                                                                                               $        663.00    $

    10
              Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9 in
              Column B. Enter the total(s).                                                                                    $      1,645.00    $

    11
              Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter
              the total. If Column B has not been completed, enter the amount from Line 10, Column A.                          $                            1,645.00




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Form 22C (Chapter 13) (04/07) - Cont.                                                                                                                                 2



                            Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
    12        Enter the amount from Line 11                                                                                                     $          1,645.00
              Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
              calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
    13
              enter the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for the household
              expenses of you or your dependents. Otherwise, enter zero.
                                                                                                                                                $                0.00
    14        Subtract Line 13 from Line 12 and enter the result.
                                                                                                                                                $          1,645.00
              Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number
    15
              12 and enter the result.
                                                                                                                                                $        19,740.00
              Applicable median family income. Enter the median family income for applicable state and household size.
              (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
    16

               a. Enter debtor's state of residence:                        GA               b. Enter debtor's household size:          1       $        37,588.00
              Application of § 1325(b)(4). Check the applicable box and proceed as directed.

                  The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is 3
    17             years" at the top of page 1 of this statement and continue with this statement.

                  The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period is
                   5 years" at the top of page 1 of this statement and continue with this statement.

     Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
    18        Enter the amount from Line 11.                                                                                                    $          1,645.00
              Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter the amount of the
    19        income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of you or your
              dependents. If you are unmarried or married and filing jointly with your spouse, enter zero.
                                                                                                                                                $                0.00
    20        Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.
                                                                                                                                                $          1,645.00
              Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number
    21
              12 and enter the result.
                                                                                                                                                $        19,740.00
    22        Applicable median family income. Enter the amount from Line 16.
                                                                                                                                                $        37,588.00
              Application of § 1325(b)(3). Check the applicable box and proceed as directed.

                  The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined under
                   § 1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
    23
                  The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not
                   determined under § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts
                   IV, V, or VI.




                                                                            Part VII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                             Date:    June 1, 2007                                         Signature: /s/ Richard J. Murton
    60
                                                                                                                       Richard J. Murton
                                                                                                                                 (Debtor)




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